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June 18, 2014

VIA ECF .
Honorable William J. Nealon

United States District Court Middle District of Pennsylvania

William J. Nealon Federal Bidg, & U.S. Courthouse

235 N. Washington Ave, P.O. Box 1146

Scranton, PA 18501-1146

RE: Crouch v. Central Credit Services, Inc.
Civil Action No.: 14-00118
~ Dear Judge Nealon:
The above-referenced matter has been resolved by agreement between the parties. Please
enter an order dismissing the action with prejudice. However the parties ask that this
Honorable Court retain jurisdiction over the matter for a period of ninety (90) days to

allow the parties to complete their obligations under the agreed upon resolution.

Thank you for your time and attention to this matter. Should you have any questions or

concerns please ot hesitate to contact my office.
Very tryl¥ yours oa

 

 

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